Case 1:20-mj-00571-DML Document 26 Filed 02/03/21 Page 1 of 2 PageID #: 83




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


UNITED STATES OF AMERICA,                      )
          Plaintiff,                           )
                                               )
       vs.                                     )   CAUSE NO. 1:20-mj-0571-DML
                                               )
KRYSTAL CHERIKA SCOTT,                         )                          - 01
          Defendant.                           )



                  COURTROOM MINUTE FOR FEBRUARY 3, 2021
                 HONORABLE TIM A. BAKER, MAGISTRATE JUDGE

       The parties appear for a detention hearing. Defendant appeared in person and by FCD

counsel Michael J. Donahoe. Government represented by AUSA Tiffany J. Preston. USPO

represented by Justin Meier.

       Defendant orally waived her right to physically appear for her detention hearing in the

courtroom and consented to appear via video teleconference.

       Detention hearing held.

       Court’s Exhibit 2 (PS3) admitted without objection.

       The government moved to admit exhibit 1. Exhibits were admitted without objection.

       Testimony presented and evidence proffered. Argument presented.

       The Court found the Government did not present sufficient evidence to support

Defendant's continued detention. However, there is no suitable residence to which Defendant

can be released. Defendant shall remain in custody subject to further evidence of a suitable

residence. Defense counsel is encouraged to work with the pretrial services officer and the

Volunteers of America to determine whether this issue can be resolved, and to file a motion or
Case 1:20-mj-00571-DML Document 26 Filed 02/03/21 Page 2 of 2 PageID #: 84




request a hearing as appropriate.

       Defendant remanded to the custody of the U.S. Marshals pending further proceedings

before the court.



         Date: 2/3/2021
                                       _______________________________
                                        Tim A. Baker
                                        United States Magistrate Judge
                                        Southern District of Indiana




Distribution:

All ECF-registered counsel of record via email generated by the court’s ECF system.
